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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND~OI9 FEB -I                             AMII: 10

   THE STATE OF MAR YLAND,
      Plaintiff,                                                      BY                         Oc:PUTV

       v,
                                                         Civil Action No. ELH-18-2849
   THE UNITED STATES OF
   AMERICA et al.,
      Defendants,


                                 MEMORANDUM           OPINION
       The State of Maryland filed a declaratory and injunctive action, seeking, among other

things, a declaration as to the constitutionality and enforceability of the Patient Protection and

Affordable Care Act, Pub, L. No. 111-148, 124 Stat. 119 (Mar. 23, 2010), as amended by the

Health Care and Education Reconciliation Act of2010, Pub, L. No. 111-152,124            Stat. 1029 (Mar,

30,2010) (collectively, the "Affordable Care Act," the "ACA," or the "Act'),           In 2017, the ACA

was further amended by the Tax Cuts and Jobs Act of 2017 (the "TCJA"), Pub. L. 115-97, 131

Stat. 2054 (2017). The State explains that, in filing suit, it is "seeking to head off the myriad of

serious harms that will befall the State and its residents if the Trump Administration ... ceases

[to] enforc[e] the ACA in whole or in part." ECF 27 at 7.

       In its initial Complaint (ECF I), filed on September 13,2018, the State sued the United

States of America; the United States Department of Justice ("DOJ"); Jefferson B. Sessions, Ill, in

his official capacity as Attorney General; the United States Department of Health and Human

Services ("HHS"); Alex M. Azar, II, in his official capacity as Secretary ofHHS; the United States

Internal Revenue Service ("IRS"); and Charles P, Rettig, in his official capacity as Commissioner

of the IRS, The State has since amended its Complaint (ECF 8, "Amended Complaint"), adding

additional defendants.
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        On November 7,2018, before the government's response to the suit was even due, Attorney

General Sessions resigned.       ECF 6-1 at 4.1      Almost immediately thereafter, President Trump,

relying on the Federal Vacancies Reform Act ("FVRA"), 28 U.S.C.                 SS   3345 el seq., appointed

Matthew G. Whitaker as Acting Attorney General.2 Mr. Whitaker had served as Chief of Staff to

Mr. Sessions. In that capacity, he was not employed in a Senate-confirmed position. In contrast,

Rod J. Rosenstein, the Deputy Attorney General, has been confirmed by the U.S. Senate.

        President Trump has since nominated William P. Barr to serve as Attorney General.3 The

Senate Judiciary Committee held confirmation hearings on January 15, 2019, and January 16,

2019. Barr's nomination is pending in the U.S. Senate.

        On November 11,2018, in response to the appointment ofMr. Whitaker, the State filed a

"Motion for Preliminary        Injunction and to Substitute Defendant"            (ECF 6), supported by a

memorandum       of law.     ECF 6-1 (collectively, "Motion for Preliminary             Injunction" or "P.1.

Motion"). According to the State, the appointment of Mr. Whitaker violates the Attorney General

Succession Act, 28 U.S.C.        S   508, as well as the Appointments         Clause of the United States

Constitution, U.S. CONST.art. II, S 2. ECF 6. Accordingly, the State seeks to enjoin Mr. Whitaker

from appearing in this case as the Acting Attorney General. Id. at 1. Alternatively, under Fed. R.

Civ. P. 25, the State seeks "to substitute Deputy Attorney General Rosenstein as Acting Attorney

General in his official capacity." ECF 6-1, ~ 3.


        I See Letter from Jefferson B. Sessions, III to Paul D. Ryan, speaker of the U.S. House of
Representati ves, hI Ips:ll asse Is. doculIle nlcloud. orgl doculIle nIsi 502985 IIRead-Jeff-Sess ions -Ie IIer-
of-resignalion.pdf(Nov.      7, 2018).

         2 Donald J. Trump (@realDonaldTrump),        TWtTTER (Nov.                  7, 2018,    II :44 AM),
https://twitter.com/reaIDonaldTrump/status/l 06025661938319360 I.

         3 Donald J. Trump (@realDonaldTrump),         TWtTTER (Dec. 7, 2018, 8:18 AM),
https:lltwitter.com/realDonaldTrump/status/l 071 076519584268288 (ellipsis in original).


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        Soon after moving for a preliminary injunction, the State filed its Amended Complaint.

ECF 8. It asserts the same allegations against defendants that were alleged in the Complaint. See

id. However, the State added Mr. Rosenstein and Mr. Whitaker as defendants, both in their official

capacities. /d. ~ 15. I shall sometimes refer to the defendants collectively as the "government."

        Defendants have moved to dismiss the Amended Complaint, pursuant to Rule 12(b)( I), for

lack of subject matter jurisdiction, and under Rule 12(b)(6), for failure to state a claim (ECF II),

supported by a memorandum of law. ECF 11-1 (collectively, "Motion to Dismiss").            According

to defendants, the State lacks standing to pursue its claims because it has merely asserted

speculative harm. /d. at 8. Further, defendants maintain: "Even if the State of Maryland is able to

overcome these jurisdictional obstacles, its single Declaratory Judgment Act claim fails to state a

claim because the State has failed to identify a cause of action for this suit." /d.

        Defendants also oppose the Motion for Preliminary Injunction. ECF 28. According to the

government, the "State's challenge to Mr. Whitaker's designation ultimately fails for lack of

standing .... " /d. Defendants also argue that, as a threshold matter, the Court must first resolve

their Motion to Dismiss because, if the Court grants that motion, "the State's request for

preliminary injunctive relief would be moot." /d. at 11. In any event, the government maintains

that Whitaker's appointment is lawful under the FVRA.

        The State opposes the Motion to Dismiss. ECF 27. It has also replied to the opposition to

its P.l. Motion.   ECF 31. And, defendants replied to the State's opposition to their Motion to

Dismiss. ECF 33.

        In addition, pursuant to Rule 15(a)(2), the State has filed a "Motion for Leave to File

Second Amended Complaint"         (ECF 29), supported by a memorandum            of law.   ECF 29-1

(collectively, "Motion for Leave"). The Motion for Leave "set[s] forth the amendments Maryland



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would propose to make to its Amended Complaint if the Court [i]s inclined to grant" the

defendants' Motion to Dismiss. See ECF 27 at 8. The proposed Second Amended Complaint is

docketed at ECF 29-3 ("Second Amended Complaint" or "SAC").

       The battle lines in this ACA case have arguably been impacted by a decision issued on

Friday, December 14,2018,        by United States District Judge Reed O'Connor of the Northern

District of Texas, declaring the Individual Mandate of the ACA unconstitutional and the remaining

provisions of the ACA inseverable and thus invalid. See Texas v. United States, NO.4: 18-cv-

00167-0,   ECF 211, 340 F. Supp. 3d 579 (N.D. Tex. 2018) (hereinatier,        Texas or the "Texas

Case,,).4 In the wake of the decision in Texas, I held a telephone conference with counsel on

Monday, December 17,2018, and directed counsel to submit supplemental briefing addressing the

effect of the Texas Case, if any, on the State's standing to pursue its requests for declaratory and

injunctive relief. See Docket.

       The State submitted a supplemental brief on December 18, 2018 (ECF 40), contending that

the Texas Case strengthens       its standing to secure declaratory   and injunctive relief.    The

government's supplemental brief is docketed at ECF 41. It adheres to its position that the State

lacks standing.   Moreover, it points out that HHS, the agency charged with enforcing the ACA,

"has expressed its commitment to continue to enforce the ACA until there is a final decision or

other judicial order directing otherwise." Id.

        Several amici curiae also filed memoranda. They focused largely on the State's P.I. Motion

                                                                      5
concerning the lawfulness of the appointment of Matthew Whitaker.



         4 The State of Maryland did not join the Texas Case, although many states were either
plaintiffs or intervenor defendants.

        5 The amici are as follows. Judicial Watch, which describes itself as "a non-partisan,
educational foundation," opposes plaintiffs P.I. Motion, ECF 14; Erwin Chemerinsky, Jon D.
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        Thereafter, on December 19,2018, the Court held a lengthy motions hearing, at which

argument was presented. ECF 42.

        Then, on December 31, 2018, Judge O'Connor stayed his ruling of December 14, 2018.

See Texas, No. 4:18-cv-00167-0,      ECF 223. In light of Judge O'Connor's      stay, this Court issued

an Order on January 2, 2019 (ECF 45), inviting counsel to submit memoranda addressing the

impact of the stay on the State's standing to bring suit in the instant case.

       The government's     response is docketed at ECF 50. It maintains that "the stay issued by

Judge O'Connor confirms that the State of Maryland has neither standing nor a cause of action to

sue on the basis that the State will be harmed by Defendants' alleged non-enforcement            of the

ACA." Id. at 1. Conversely, the State claims in its memorandum (ECF 51) that the stay in the

Texas Case "does not eliminate Maryland's standing to pursue its claims regarding the continuing

validity of the [ACA]." Id. at 1.

        For the reasons that follow, I shall grant the State's Motion for Leave (ECF 29). And, I

shall construe the government's     Motion to Dismiss (ECF II) as a motion lodged against the

Second Amended Complaint.           I shall also grant the Motion to Dismiss, without prejudice.

Therefore, I shall deny, as moot, the State's Motion for Preliminary Injunction (ECF 6) and the

State's Motion to Substitute (ECF 6).



Michaels, Alan B. Morrison, Victoria Nourse, Peter M. Shane, Jed Handelsman Shugerman, and
Laurence H. Tribe, who describe themselves as "eminent constitutional scholars," support the P.I.
Motion, ECF 16; Citizens for Responsibility and Ethics in Washington ("CREW"), a non-profit,
non-partisan corporation that claims it "include[s] former government ethics officials with decades
of experience applying ethics laws and regulations," support the P.I. Motion, ECF 17; Morton
Rosenberg, who was involved in the drafting of the Federal Vacancies Reform Act, and who claims
that he is considered the leading authority on the Federal Vacancies Reform Act, supports the P.I.
Motion, ECF 24; the District of Columbia, as well as the States of Connecticut, Delaware, Hawaii,
Illinois, Maine, New Mexico, New York, North Carolina, Oregon, Rhode Island, and Washington,
along with the Commonwealths of Virginia, Pennsylvania, and Massachusetts, jointly filed a
memorandum supporting the P.1. Motion, ECF 26.

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                                      I.       Motion For Leave

        As noted, the government           has moved to dismiss the Amended         Complaint    under

Rule 12(b)(1), on the basis that the State lacks "standing to pursue its declaratory relief claim."

ECF 11-1 at 8. Alternatively, the government has moved to dismiss the State's Declaratory

Judgment Act claim, pursuant to Rule 12(b)(6), claiming that "the State has failed to identify a

cause of action for this suit." Id.

        In response, the State maintains that, based on the allegations of the Amended Complaint,

it has standing to bring suit. However, if the Court deems the allegations presented in the Amended

Complaint deficient, Maryland seeks leave to file the Second Amended Complaint.               ECF 29;

ECF 29-3. The proposed SAC "adds allegations to respond to several arguments raised" in the

government's Motion to Dismiss. ECF 29, ~ 3.

        Rule 15 of the Federal Rules of Civil Procedure governs amendments to pleadings. Under

Rule 15(a)( I)(A), "[a] party may amend its pleading once as a matter of course," if done within 21

days after serving the pleading.      Or, "if the pleading is one to which a responsive pleading is

required," a party may amend once as a matter of course, provided that it does so within "21 days

after service ofa responsive pleading or 21 days after service ofa motion under Rule 12(b), (e), or

(t), whichever is earlier." FED. R. CIY. P. 15(a)(I)(B).   Rule 15(a)(2) provides that, "[i]n all other

cases," a party wishing to amend its pleading must obtain "the opposing party's written consent or

the court's leave." Notably, Rule 15(a)(2) states, in part: "The court should freely give leave [to

amend] when justice so requires." Id.

        There are three circumstances when it is appropriate to deny leave to amend: "(I) 'the

amendment would be prejudicial to the opposing party;' (2) 'there has been bad faith on the part

of the moving party;' or (3) 'the amendment would have been futile.'''         Scoll v. Family Dollar



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Stores, Inc., 733 F.3d 105, 121 (4th Cir. 2013) (quoting Laber v. Harvey, 438 F.3d 404, 426 (4th

Cir. 2006)).   An amendment is futile "when the proposed amendment is clearly insufficient or

frivolous on its face." Johnson v. OrolVeat Foods Co., 785 F.2d 503, 510 (4th Cir. 1986).

        Certainly, the government would not be prejudiced by allowing the State to file the SAC.

And, the State has not acted in bad faith. Although I ultimately conclude that the proposed SAC

proves futile in regard to standing, that conclusion is apparent only after an analysis of the standing

issue. Therefore, I shall grant the State's Motion for Leave and consider the allegations in the

proposed Second Amended Complaint. Moreover, to avoid any further delay, I shall construe the

Motion to Dismiss as if it were lodged against the SAC.

                                          II.     Background6

                                  A,       The Affordable Care Aet

        The Affordable Care Act, enacted by Congress in 20 I0, was one of President Barack

Obama's signature legislative accomplishments.       The Act, sometimes called "ObamaCare," sought

"to increase the number of Americans covered by health insurance and decrease the cost of

healthcare."   Nat 'I Fed'n ojlndep. Bus. v. Sebelius, 567 U.S. 519, 538 (2012) ("NFIB").        In over

900 pages of text, Congress endeavored to provide the opportunity for "near-universal"           health-

insurance coverage and to reduce health insurance premiums through the "creation of effective

health insurance    markets"   and new statutory        requirements   for individuals   and insurance

companies. See, e.g., 42 U.S.c.    SS   18091 (2)(0), (2)(F), and (2)(1).

        The ACA ushered in its seminal changes to the United States healthcare system through a

series of provisions    that created new requirements         for individuals,   employers,   healthcare



        6As discussed, infra, at this juncture the facts alleged in the suit are taken as true. See Fed.
R. Civ. P. l2(b)(l); see, e.g., Durden v. United States, 736 F.3d 296, 300 (4th Cir. 2013); Kerns v.
United States, 585 F.3d 187, 192 (4th Cir. 2009).
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providers, and insurance companies.            ECF 29-3, ~ 21. Among these changes, the ACA adopted

"three key reforms." King v. Burwell, 576 U.S. _,                     135 S. Ct. 2480, 2482 (2015).

          First, the Act includes the "guaranteed-issue"                    and "community-rating"     provisions to

address "the problem of those who cannot obtain insurance coverage because of preexisting

conditions or other health issues."            NFlB, 567 U.S. at 547; see 42 U.S.C.              S   18091(2)(1); id.

S 300gg-1.       Together, the guaranteed-issue and community-rating provisions "prohibit insurance

companies from denying coverage to those with [preexisting] conditions or charging unhealthy

individuals higher premiums than healthy individuals."                     NFIB, 567 U.S. at 548 (citing 42 U.S.C.

SS    300gg, 300gg-1, 300gg-3, 300gg--4).

          In particular, the guaranteed issue provision requires insurers "offering coverage in an

individual and group market in a State" to "accept every employer and individual in the State that

applies for such coverage."            42 U.S.c.   S   300gg-1 (a). And, as a corollary, an insurer "offering

group or individual health insurance coverage may not" exclude coverage based on a preexisting

condition.       ld.   S 300gg-3(a).    The community-rating provision was enacted to prevent insurers

from varying premiums within a geographic area based on "certain narrow factors," including race,

age, gender, sexual orientation, occupation, health status, claims history, and several others.

ld.   S 300gg.
          The second key reform concerns 26 U.S.C.                    S    5000A, which is titled "Requirement     to

maintain minimum essential coverage."                  This provision of the Act is commonly known as the

"Individual Mandate."           Pursuant to the "Individual Mandate," individuals are generally required

to maintain minimal essential health insurance.                 ld.   S   5000A(a).   The provision represented "an

effort 'plainly designed to expand health insurance coverage.'''                  ECF 29-3, ~ 23 (citing NFlB, 567

U.S. at 574).



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           To compel compliance, Congress imposed a financial penalty on individuals who were

subject to the requirement but failed to purchase insurance. 26 U.S.C.               !i 5000A(b);   see also NFIB,

567 U.S. at 574. However, this penalty, known as the "shared responsibility payment," did not

apply to those for whom "the cost of buying insurance would exceed eight percent of that

individual's      income."   Burwell,      135 S. Ct. at 2482; see 26 U.S.c.              !i   5000A(b) ("shared

responsibility     payment");   id.   !i   5000A( e)( I) (exempting        "individuals        who cannot     afford

coverage").7

           Third, "to make insurance more affordable," Bunl'ell, 135 S. Ct. at 2487, the Act provides

tax credits, or subsidies, to purchase health insurance for individuals making between 100% and

400% of the federal poverty line. 42 U.S.c.        !i!i   18031, 18041.

           The Act contains many other vital provisions.         For example, it creates and subsidizes a

health exchange in each state, i.e., "a marketplace that allows people to compare and purchase

insurance plans." Bumell,       135 S. Ct. at 2482; see 42 U.S.C.         !i!i   18031-44. "The Act gives each

state the opportunity to establish its own Exchange, but provides that the Federal Government will

establish 'such Exchange' if the State does not." Burwell, 135 S. Ct. at 2482 (citing 42 U.S.C.

!i!i   18031, 18041). The tax credits provided under 26 U.S.C.        !i 36B      "can be used to pay insurance

premiums in advance through an exchange."           ECF 29-3, ~ 24 (citing 42 U.S.C.             !i 18082).
           Further, the ACA expands "Medicaid, which the States administer, to make additional

segments of the population eligible to receive coverage."             ECF 29-3, ~ 26 (citing 42 U.S.C.

!i!i   1396(a)( IO)(A)(i)(VIII), 1396a( e)( 14)(I)(i». Under the Act, the federal government must cover




           The ACA also exempts some groups from the Individual Mandate and shared
           7
responsibility payment, 26 U.S.c. !i 5000A(d)(2)-(4), and exempts others only from the shared
responsibility payment. Id.!i 5000A(e)(2)-(5).


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a significant portion of the expansion cost: 100% in 2014-2016,95%         in 2017, 94% in 2018, 93%

in 2019, and 90% in 2020 and each subsequent year thereafter. 42 U.S.C.       S   1396(d)(y)(l )(A)-(E).

        In addition, the ACA contains a provision allowing dependent children to remain on their

parents' health insurance until age 26. 42 U.S.C.      S 300gg-14(a).   The ACA also implemented an

employer    mandate and an employer-responsibility          assessment.     These provisions     require

employers with at least fifty full-time employees to pay the federal government a penalty if they

fail to provide their employees with ACA-compliant health-plan options. See 26 U.S.C.          S 4980H.
               B.      National Federation of I/IIlependent Businesses v. Sebelius

        Since its passage, the Affordable Care Act has generated intense controversy.          As Judge

O'Connor observed in the Texas Case, "[h]ealth-insurance policy is ... a politically charged affair

-   inflaming emotions and testing civility."     340 F. Supp. 3d 579, 585.       Indeed, shortly after

President Obama signed the Act into law, thirteen states filed suit, challenging the constitutionality

of the provisions concerning minimum coverage and Medicaid expansion.               And, an additional

thirteen states and several individuals and organizations, including the National Federation of

Independent Businesses, joined plaintiffs in the action.8

        On June 19, 2012, the United States Supreme Court issued its landmark decision in

National Federation of Independent Businesses v. Sebelius, 567 U.S. 519 (2012). Bya 5-4 vote,

the Court upheld the constitutionality of the Individual Mandate and the shared responsibility

payment under 26 U.S.C.     S   5000A as a valid exercise of Congress's taxing power. NFlB, 567

U.S. at 544-46; see also ECF 29-3, ~ 57 (summarizing NFIB).




        8 See Michael J. Graetz & Jerry L. Mashaw, Constitutional Uncertaillly and the Design of
Social Insurance: Reflections on the Obamacare Case, 7 HARV.L. POL'y REV. 343, 344 (2013);
Comment, National Federation of Independent Business v. Sebelius: The Patient Protection and
Affordable Care Act, 1261-IARV.L. REV. 72, 73(2012)_


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        The majority opinion, authored by Chief Justice Roberts, rejected the contention that the

Individual Mandate was a lawful exercise of Congress's power to regulate interstate commerce.

NFlE, 567 U.S. at 562. But, the Court observed that, despite the Act's reference to the payment

of a "penalty," not a "tax," see 26 U.S.C.         S 5000A,   it "looks like a tax in many respects." NFlE,

567 U.S. at 563.

        In this regard, the Court noted first that the payment obligation "is found in the Internal

Revenue Code and enforced by the IRS, which ... must assess and collect it in the same manner

as taxes." /d. at 564 (quotation marks and citation omitted).            "This process yields the essential

feature of any tax: It produces at least some revenue for the Government."            /d. (citation omitted).

"Although the payment will raise considerable revenue," the Supreme Court noted, "it is plainly

designed to expand health insurance coverage." /d. at 567. And, observed the Court, "taxes that

seek to influence conduct are nothing new." /d.

        Second, the price of the payment is "far less than the price of insurance, and by statute, it

can be no more." /d. at 566. Unlike a prohibitory penalty, "[i]t may often be a reasonable financial

decision to make the payment rather than purchase insurance." /d. Third, "the individual mandate

contains no scienter requirement," which is "typical of punitive statutes, because Congress often

wishes to punish only those who intentionally break the law.'''              /d. Finally, "the payment is

collected solely by the IRS through the normal means of taxation ... ." /d.

        For these reasons, the Supreme Court upheld the financial penalty under the taxing power

of Congress. /d. at 575. It concluded: "[I]t is only because we have a duty to construe a statute to

save it, if fairly possible, that   S   5000A can be interpreted as a tax." /d. However, the Supreme

Court found unconstitutional 42 U.S.C.         S   1396c, a provision under the Act that coerced states to

comply with the Act's expansion by threatening to "tak[e] away their existing Medicaid funding."



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Id. at 584. "[F]or that constitutional            violation,"      the NFlE Court determined              that the appropriate

remedy was "to preclude the Government                  from imposing such a sanction,"               but this did "not require

striking down other portions of the Affordable                  Care Act."        Id. at 588.

          In the      wake     of the     Supreme       Court's        decision     in NFlE, "Maryland             finalized   its

implementation         of the Affordable       Care Act ....       "     ECF 29-3, ~ 6.         In particular,    it enacted   "a

procedure       to eliminate   its state-operated      risk pool; establish[ ed] a funding stream for its fledgling

independent        agency,      the    Maryland       Health      Benefit     Exchange;         and    expand[ ed]     Medicaid

eligibility."     Id. (citing Maryland Health Progress Act of2013, 2013 Md. Laws ch. 139).

          According      to plaintiff,   the NFlE decision did not put an end to the challenges                    to the ACA.

Indeed, since the decision            in NFlE, "members         of Congress       have attempted       to repeal" the Act "an

estimated       70 times."     ECF 29-3, ~ 7. See, e.g., H.R. 3762, 114th Congo (2015);                          H.R. 45, 113th

Congo (2013); H.R. 6079, 112th Congo (2012).9

                                         C.         The Tax Cuts and Jobs Act

          As a candidate       for President    of the United States, Donald Trump repeatedly                     expressed    his

fervent opposition       to the ACA.       On January 20,2017,            just hours after President Trump was sworn

into office, he signed Executive              Order    13765, titled "Minimizing            the Economic         Burden of the

Patient Protection       and Affordable        Care Act Pending           Repeal."     ECF 29-3, ~ 35;        see Exec. Order

No. 13765,82         Fed. Reg. 8351 (Jan. 20, 2017).              The Executive       Order instructed      HHS to "exercise

all authority     and discretion      available to them to waive, defer, grant exemptions                   from, or delay the




        9 For the complete list, plaintiff cites the following, ECF 29-3, ~ 7 n.2: C. STEPHEN
REDHEAD & JANET KINZER, CONGo RESEARCH SERV., R43289, LEGISLATIVE ACTIONS IN THE
1 12TH, 1 I 3TH, AND I I 4TH CONGRESSESTO REPEAL, DEFUND, OR DELA Y THE AFFORDABLE CARE
ACT (2017), https://fas.org/sgp/crs/misc/R43289.pdf.


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implementation of any provision or requirement of the [Atfordable Care] Act that would impose

a fiscal burden on any State .... " Id.

        The Second Amended Complaint alleges that "the President has continued his campaign

to undermine the enforcement of [the ACA], by launching a series of measures that include

suspending cost-sharing reduction payments; directing his agencies to implement statutorily

unauthorized    rules disrupting   enforcement    of nondiscrimination   provisions   and disrupting

individual and small group market reforms; and curtailing funding for the federally-facilitated

exchanges."    ECF 29-3, ~ II.

        For example, on October 12,2017, "the President announced that his Administration was

reversing course on a longstanding policy of the Secretaries of Health and Human Services and

Treasury to make cost-sharing reduction (one way the Act subsidizes individual purchase of health

insurance) payments ('CSR payments') each month under the authority provided to them by the

Affordable Care Act's permanent appropriation."        Id. ~ 36. In a statement "issued by the White

House Press Secretary," the Trump Administration stated that HHS "had concluded" that the Act's

"permanent appropriation [did] not apply to CSR payments." Id. Early the next day, DOJ "made

a court filing including a copy of a new opinion by the Attorney General addressing the purported

legal basis for the Administration's   action." Id. Also on October 13, 2017, the President tweeted,

id.: "The Democrats ObamaCare is imploding. Massive subsidy payments to their pet insurance

companies has stopped. Oems should call me to fiX!"IO

        About two months later, on December 22, 2017, President Trump signed into law the

TCJA, the most sweeping tax reform legislation in recent history. Of relevance here, "as part ofa




        10   Donald J. Trump (@reaIDonaldTrump), TWITTER (Oct.               13, 2017, 2:36 AM),
https://twitter.com/realDonaldTrump/status/91877252298387456I.

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larger revision of federal income tax laws," Congress amended the tax code by reducing to zero

the shared responsibility payment of the ACA, 26 U.S.c.     S 5000A(b),   "for individuals failing to

demonstrate health insurance coverage, which is based on a percentage of the taxpayer's household

income." ECF 29-3, ~ 8. Notably, the TCJA "did not repeal any provision of the Affordable Care

Act." ld. However, it "reduced the shared responsibility percentage from '2.5%' to 'zero percent,'

and the applicable dollar amount from '$695' to '$0.'"    ld. (citing Pub. L. 115-97,2017 HR 1, at

*2092 (Dec. 22, 2017).    This change, which went into effect on January 1,2019 (ECF 29-3, ~ 8),

essentially gutted the Individual Mandate.

       Senator Pat Toomey (R-PA) made clear in floor debate that Congress intended to reduce

the payment but sought to preserve the remainder of the Affordable Care Act. He said:

       We don't change any of the subsidies. They are all available to anyone who
       wants to participate. We don't change the rules. We don't change eligibility.
       We don't change anything except one thing. We say that if you decide this
       plan doesn't fit your family or if you decide for all the subsidies you get it is
       still not worth it for you to have this plan and you opt out, you will no longer be
       punished with this tax. That is the only thing we do in this bill.

163 CONGoREC. S7672 (daily ed. Dec. 1,2017); see also ECF 29-3, ~ 30.

       Several other senators echoed his view. Senator Shelley Moore Capito (R- WV) asserted:

"There has been a lot of misinformation about this provision, so let me just clarify. No one is

being forced off of Medicaid or a private health insurance plan by the elimination of the individual

mandate.    By eliminating the individual mandate, we are simply stopping penalizing and taxing

people who either cannot afford or decide not to buy health insurance plans."       163 CONGoREC.

S7383 (daily ed. Nov. 29, 2017); see also ECF 29-3, ~ 31.

       And, Senator Orrin Hatch (R-UT) explained during the Senate Finance Committee's

markup of the tax bill:




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          [L]et us be clear, repealing the tax does not take anyone's health insurance away.
          No one would lose access to coverage or subsidies that help them pay for coverage
          unless they chose not to enroll in health coverage once the penalty for doing so is
          no longer in effect. No one would be kicked off of Medicare. No one would lose
          insurance they are currently getting from insurance carriers. Nothing-nothing-
          in the modified mark impacts Obamacare policies like coverage for preexisting
          conditions or restrictions against lifetime limits on coverage.

Continuation of the Open Executive Session to Consider an Original Bill Entitled the Tax ClIIs

and Jobs Act Before the S. Comm. on Fin., 115th Congo 106 (2017); see also ECF 29-3, ~ 32.

          Senator Tim Scott (R-SC) declared: "Anyone who doesn't understand and appreciate that

the individual mandate and its effects in our bill take nothing at all away from anyone who needs

a subsidy, anyone who wants to continue their coverage-it        does not have a single letter in there

about preexisting conditions or any actual health feature." 163 CONGoREC. S7666 (daily ed. Dec.

1,2017); see also ECF 29-3, ~ 33.

          The State acknowledges     in the Second Amended Complaint that, notwithstanding           the

passage        of the TCJA, the statements    of congressional    legislators   demonstrate   a "clear"

congressional      intent "to maintain all provisions of the Affordable Care Act as enacted .... "

ECF 29-3, ~ 8. But, the State points to a speech delivered by President Tmmp on June 19, 2018,

"shortly after another Congressional repeal effort had failed." Jd. ~ 37. Referring to the passage

of the TCJA, President Trump "touted Congress's decision to reduce the shared responsibility

payment to $0." Jd. He proclaimed:      II


          Our historic tax cuts also ended one of the most unfair taxes imaginable -
          Obamacare's individual mandate ....  Government will no longer punish you if
          you cannot afford Obamacare's sky-high premiums. Think of this: You pay a
          lot of money to the government in order not to have to buy in health


          Remarks by President Trump at the National Federation of Independent Businesses 75th
          II
Anniversary Celebration, THE WHITE HOUSE (June 19, 2018), https://www.whitehouse.gov/
brieIings-statemen ts/remarks- presi dent -trump- nati onal- federati on- independent -busi nesses- 75th-
anniversary-celebration; see also ECF 29-3, ~~ 37-38 (summarizing President Trump's June 19,
2018 remarks).

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        insurance. Think of that. So you're paying money that you don't - that's a
        penalty. Incredibly, it was allowed. But you're paying money so that you don't
        have to buy healthcare. That was a beauty. It's over. It's gone. It's done.

        President Trump also praised "one of his executive actions," a final administrative rule

exempting "association health plans"-a     category of plans that allows small businesses to band

together to obtain health coverage-"from      certain Affordable Care Act requirements ....         "

ECF 29-3, ~ 38. The President commented that this measure was a '''truly historic step in [the

Administration's]   efforts to rescue Americans from ObamaCare and the ObamaCare nightmare.'''

Id. Claiming that '''ObamaCare    has been especially brutal for small businesses,'''   the President

maintained that the final rule would "make it easier for small businesses to band together to

negotiate lower prices for health insurance and escape some of Obamacare's        most burdensome

mandates through association health plans." See ECF 29-3, ~~ 37-38; see also supra note 11.

                                  D.      Texas v. United States

        In February 2018, nearly two months after the enactment of TCJA, "a group of states, led

by Texas," filed suit in the Northern District of Texas, seeking a declaratory judgment and a

preliminary injunction. ECF 29-3, ~ 9 (citing Texas, NO.4: 18-cv-00167-0, ECF I (N.D. Tex. Feb

26, 2018».    The plaintiff states are Texas, Wisconsin, Alabama, Arkansas, Arizona, Florida,

Georgia, Indiana, Kansas, Louisiana, Mississippi, Missouri, Nebraska, North Dakota, South

Carolina, South Dakota, Tennessee, Utah, West Virginia, and Maine. They sued the United States

of America; HHS; Alex Azar, in his official capacity as Secretary of HHS; the IRS; and David J.

Kautter, in his official capacity as Acting Commissioner of IRS. However, they did not sue the

Attorney General of the United States or DOJ. The States of California, Connecticut, Delaware,

Hawaii, Illinois, Kentucky, Minnesota, New Jersey, New York, North Carolina, Oregon Rhode

Island, Vermont, and Washington, along with the Commonwealths of Virginia and Massachusetts



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and the District of Columbia, intervened as defendants (collectively, the "Intervenor Defendants").

See Texas, No. 4: I 8-cv-00167-0,        ECF 74 (N.D. Tex. May 16, 2018) (granting motion to

intervene). As noted, Maryland did not participate in the suit.

         The plaintiffs in Texas sought, inter alia, a declaration that the ACA, as amended by the

TCJA, is unconstitutional and that the remainder of the ACA is not severable.         Texas, NO.4: 18-

cv-00167-0,      ECF 27, ~ 57 (N.D. Tex. April 23, 2018) ("Amended Texas Complaint"); see also

ECF 29-3, ~ 9. They asserted that once the TCJA Amendment becomes effective in 2019, the

Mandate is no longer enforceable as a tax and is therefore invalid. [d. And, if the Mandate falls,

so too must the entire Act. [d.

         On June 7, 2018, pursuant to 28 U.S.C.          S   530D,12 "Attorney General Sessions sent

Congress a letter indicating that the Department of Justice will not defend the constitutionality of

26 U.S.c.     S 5000A(a),"   i.e., the Individual Mandate provision, "in the context of Texas v. United

States ....   " ECF 29-3, ~ 10; See also Letter from Jefferson B. Sessions, III to Paul D. Ryan,

https:llwww.justice.gov/file/1069806/do\\-1110ad     (June 7, 2018) ("Sessions Letter").

         Among his reasons for declining to defend the provision's         constitutionality,   Attorney

General Sessions stated: "[T]he President has concluded that the statute is unconstitutional and

made manifest that it should not be defended ....        " See Sessions Letter, at 2. Moreover, he

explained that "the Department's decision not to defend Section 5000A(a)'s constitutionality will

not prevent the court in Texas v. United States from resolving the question, given the posture of

the case." ld.


         1228 U.S.c.  S 530D(a)(l )(B) provides: "The Attorney General shall submit to the Congress
a report of any instance in which the Attorney General or any officer of the Department of
Justice ... determines to contest affirmatively, in any judicial administrative, or other proceeding,
the constitutionality of any provision of any Federal statute, rule, regulation, program, policy, or
other law .... "


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       Sessions also indicated that DOJ would "argue that         S    5000A(a) is not severable" from

certain provisions of the Act: the guaranteed-issue provisions, see 42 U.S.c.     SS 300 gg-I,   300gg-

4(a); the community-rating   provisions, see id.   SS   300gg(a)(I), 300gg--4(b); and the preexisting

conditions provisions. See id.   S 300gg-3.   ECF 29-3, ~ 10. Notably, however, Sessions stated that

"the Department will continue to argue that Section 5000A(a) is severable from the remaining

provisions of the ACA." See Sessions Letter, at 3.

       Thereafter, DOJ, as government counsel, "filed a brief(in the Texas Case] urging the court

to 'hold that the ACA's individual mandate will be unconstitutional as of January 1,2019, and that

the ACA's guaranteed-issue and community-rating provisions are inseverable from the mandate,'

and further requesting that the court grant declaratory relief to that effect." ECF 29-3, ~ 10 (citing

Texas Case).    Of relevance, at oral argument in the Texas Case on September 5, 2018, DOJ

represented that '''the current administration supports protections for people with preexisting

health conditions,'" but it also affirmed "the position that the minimum coverage requirement will

be unconstitutional" and that the rest of the Act, including the community-rating and guaranteed-

issue provisions, "'must fall' as well." ECF 29-3, ~ 10.

       As mentioned, Judge O'Connor           issued his ruling on December        14, 2018, declaring

unconstitutional the Individual Mandate, 26 U.S.c.       S 5000A(a).    Texas, 340 F. Supp. 3d 579. In

his view, the Individual Mandate "is no longer fairly readable as an exercise of Congress's Tax

Power and continues to be unsustainable under Congress's Interstate Commerce Power."               /d. at

585. Further, he declared the remaining provisions of the Affordable Care Act inseverable and

therefore invalid. /d.

        Minutes after the decision was issued, President Trump tweeted: "As I predicted all along,

Obamacare has been struck down as an UNCONSTITUTIONAL                     disaster! Now Congress must



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pass a STRONG law that provides GREAT healthcare and protects pre-existing conditions .... ,,13

And, he tweeted: "Wow, but not surprisingly, ObamaCare was just ruled UNCONSTITUTIONAL

by a highly respected judge in Texas. Great news for America!"14

       Two weeks later, on December 31, 2018, Judge O'Connor entered a partial judgment,

invalidating the Individual Mandate and declaring the ACA's remaining provisions inseverable

and therefore invalid.    See Texas, 4:18-cv-00167-0,            ECF 221 (N.D. Tex. Dec. 30, 2018).

However, he also stayed his Order of December 14,2018. See Texas, 4:18-cv-00167-0,           ECF 223

(N.D. Tex. Dec. 31,2018).

       On January 3, 2019, the Intervenor Defendants noted an appeal to the United States Court

of Appeals for the Fifth Circuit. ECF 221. See Texas, el al. v. Uniled Slales, el aI., No. 19-10011.

The Fifth Circuit stayed proceedings on January II, 2019, in light of the partial government

shutdown.   [d. The shutdown ended on January 25, 2019. See Further Additional Continuing

Appropriations Act, H.R.J. Res. 28, I I6th Congo (2019).

                                         III.       Discussion

                                                     A.

       Defendants argue that this Court is without subject matter jurisdiction to consider this case

because plaintiff lacks Article III standing to pursue its suit. According to the defense, the State's

claim is merely speculative.

       It is a bedrock principle that Article III of the Federal Constitution limits judicial power to

"actual, ongoing cases or controversies."       Lewis v. Conl'/ Bank Corp., 494 U.S. 472, 477 (1990)




         13 Donald J. Trump (@realDonaldTrump),       TWITTER (Dec.            14, 2018, 6:07 PM),
https:l/twitter.com/realDonaldTrump/status/1 073761497866747904.

         14 Donald J. Trump (@reaIDonaldTrump), TWITTER (Dec.                  14, 2018, 6:16 PM),
https:lltwitter.com/realDonaldTrump/status/1 073 763695807877120.
                                                     19
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(citations omitted); see Clapper v. Amnesty Int'l USA, 568 U.S. 398,408          (2013). "Indeed, 'no

principle is more fundamental to the judiciary's proper role in our system of government than the

constitutional limitation of federal-court jurisdiction to actual cases or controversies.'"   Dreher v.

Experian Info. Solutions, Inc., 856 F.3d 337, 343 (4th Cir. 2017) (quoting Spokeo, Inc. v. Robins,

578 U.S. _,136       S. Ct. 1540, 1547 (2016)).

        The Supreme Court explained in Arizona Christian School Tuition Organization v. Winn,

563 U.S. 125, 133 (20 11): "Continued adherence to the case-or-controversy requirement of Article

III maintains the public's confidence in an unelected but restrained Federal Judiciary ....     For the

federal courts to decide questions of law arising outside of cases and controversies would be

inimical to the Constitution's democratic character."       See also Daimler Chrysler Corp. v. Cuno,

547 U.S. 332, 341 (2006) ("[T]he constitutional limitation of federal-court jurisdiction to actual

cases or controversies"     is "fundamental       to the judiciary's   proper role in our system of

government(.]");    Elk Grove Unified Sch. Dist. v. Newdow, 542 U.S. I, II (2004) (stating that

Article III standing "enforces the Constitution's case-or-controversy     requirement"), abrogated in

part on other grounds by Lexmark Int'l, Inc. v. Static Control Components, Inc., 572 U.S. 118

(2014); United States v. Hardy, 545 FJd 280, 283 (4th Cir. 2008) (stating that under Article III of

the Constitution    "'the exercise of judicial power depends upon the existence of a case or

controversy''')    (quoting DeFunis v. Odegaard, 416 U.S. 312, 316 (1974)); Miller v. Brown, 462

F.3d 312, 316 (4th Cir. 2006) (stating that Article III "gives federal courts jurisdiction only over

cases and controversies") (internal quotation marks and citations omitted).

        Therefore, during the pendency of a case, an actual controversy must exist. See Steffel v.

Thompson, 415 U.S. 452,459 n.10 (1974); Williams v. Ozmint, 716 FJd 80 I, 808 (4th Cir. 2013).

Conversely, in the absence of a case or controversy, "the court's subject matter jurisdiction ceases



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to exist .... "   sc.   Coastal Conservation League v. U.S Army Corps.        0/ Eng'rs,   789 F.3d 475,

482 (4th Cir. 2015); see Gardner v. GMAC, Inc., 796 F.3d 390, 395 (4th Cir. 2015) (same).

         "One element of the case-or-controversy         requirement" is that a plaintiff must establish

standing to sue. Raines v. Byrd, 521 U.S. 811, 818 (1997); see Spokeo, Inc., 136 S. Ct. at 1547

("Standing to sue is a doctrine rooted in the traditional understanding of a case or controversy. ").

The Clapper Court explained, 568 U.S. at 408: "The law of Article III standing, which is built on

separation-of-powers     principles, serves to prevent the judicial process from being used to usurp

the powers of the political branches.,,15

        The "constraint of Article lll" includes principles of standing as well as ripeness, which

"presents a 'threshold question [] of justiciability.'''     Scoggins v. Lee's Crossing Homeowners

Ass 'n, 718 F.3d 262, 269 (4th Cir. 2013 ) (citation omitted). Like standing, ripeness is an issue of

subject matter jurisdiction.   Sansolla v. Town o/Nags Head, 724 F.3d 533, 548 (4th Cir. 2013);

see Nat 'I Ass'n/or     the Advancement a/Colored    People v. Bureau o/the Census, PWG-18-891,

2019 WL 355743, at *8 (D. Md. Jan 19,2019) ("NAACP") (describing standing and ripeness as

"overlapping facets" of subject matter jurisdiction).

        As with standing, the ripeness doctrine is "drawn both from Article III limitations on

judicial power and from prudential reasons for refusing to exercise jurisdiction ... ." Nat 'I Park

Hospitality Ass 'n v. Dep 't o/Interior, 538 U.S. 803, 808 (2003) (internal quotation marks omitted).

Whereas standing focuses on who can sue, ripeness "'concerns the appropriate timing of judicial




         15Under the political question doctrine, which is not asserted here, courts may not "review
those controversies which revolve around policy choices and value determinations constitutionally
committed for resolution to the halls of Congress or the confines of the Executive Branch." Japan
 Whaling Ass'n v. Am. Cetacean Soc'y, 478 U.S. 221, 230 (1986). It is a "narrow exception" to
judicial review. Zivotofsky ex reI. Zivotofsky v. Clinton, 566 U.S. 189, 195 (2012); see Kravitz v.
 U.S Dep't o/Commerce, 336 F. Supp. 3d 545, 561 (D. Md. 2018).
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intervention.'''       Cooksey v. Futrell, 721 F.3d 226, 240 (4th Cir. 2013) (quoting                            Va. Soc 'y for

Human Life, Inc. v. FEC, 263 F.3d 379, 389 (4th Cir. 2001»; see NAACP, 2019 WL 355743, at

*8 (noting that standing addresses             who may sue, and ripeness addresses              when a party may sue).

           Notably,    a claim is not ripe for judicial        review "'if it rests upon contingent              future events

that may not occur as anticipated,               or indeed may not occur at all.'''            Scoggins, 718 FJd at 270

(quoting     Texas v. United States, 523 U.S. 296, 300 (1998».                          In other     words,      "the ripeness

requirement        is designed    'to prevent the courts, through avoidance            of premature     adjudication,     from

entangling    themselves         in abstract disagreements'         ....   " Ohio Forestry Ass 'n, Inc. v. Sierra Club,

523 U.S. 726, 732-33 (1998) (citations                omitted);      see also South Carolina v. United States, 912

F.3d 720, 730 (4th Cir. 2019); NAACP, 2019 WL 355743, at *14.

           The doctrines         of ripeness    and standing        have largely     blurred    in declaratory       judgment

actions.     See 138       CHARLES ALAN WRIGHT & ARTHUR                          R. MILLER, FEDERAL PRACTICE &

PROCEDURE ~ 3532.5 (3d ed. 2018).                 In MedImmune, Inc. v. Genentech, Inc., 549 U.S. 118 (2007),

the Supreme        Court recognized       that "standing   and ripeness boil down to the same question."                  Id. at

128 n.8; accord Susan B. Anthony, 573 U.S. at 157 n.5; see South Carolina v. United States, 9 I 2

F.3d at 730; Miller v. Brown, 462 F.3d 312, 319 (4th Cir. 2006); NAACP, 2019 WL 355743, at *8;

see also Capital Associated Indus., Inc. v. Stein, 283 F. Supp. 3d 374, 380 (M.D.N.C.                                    2017)

(characterizing        discussion     of standing     and ripeness          as "one involving      'standing'"      in light of

MedImmune and Susan B. Anthony).

           This case may be better decided under the doctrine                    of ripeness    (which addresses        when a

party may sue) rather than standing (which addresses                       who may sue). Cf South Carolina, 912 FJd

at 730 (quoting        Miller, 462 F.3d at 319) ((citing ERWIN CHEMERINSKY, FEDERAL JURISDICTION

~ 2.4 (4th ed. 2003» ("'Although               the phrasing makes the questions         of who may sue and when they



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sue seem distinct, in practice there is an obvious overlap between the doctrines of standing and

ripeness."'); accord NAACP, 2019 WL 355743, at *8. Nevertheless, the parties have not addressed

ripeness. Rather, they have addressed the question of justiciability through the lens of standing.

Therefore, I shall do the same, given that the analysis is largely the same.

                                                 B.

        The doctrine of standing consists of two distinct "strands":           constitutional   standing,

pursuant to Article III, and prudential standing. Elk Grove Unified Sch. Dist., 542 U.S. at 11. As

discussed, infra, "the standing inquiry asks whether a plaintiff had the requisite stake in the

outcome ofa case ....     " Deal v. Mercer Cry. Bd. ofEduc.,     911 FJd 183, 187 (4th Cir. 2018)

(citing Friends of the Earth. Inc. v. Laidlaw Envtl. Servs. (FOC), Inc., 528 U.S. 167, 180 (2000)).

Under Article III, "a party invoking the jurisdiction of a federal court [must] seek relief for a

particularized injury," which is a requirement that "serves vital interests going to the role of the

judiciary in our system of separated powers."    Hollingsworth v. Perry, 570 U.S. 693, 696 (2013).

        As indicated, the requirements for constitutional standing reflect that Article III "confines

the federal courts to adjudicating actual 'cases' and 'controversies.'"   Allen v. Wright, 468 U.S.

737, 750 (1984), abrogated in part on other grounds by Lexmark Int 'I. Inc., supra, 572 U.S. 118;

see also Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1993) ("[S]tanding is an essential and

unchanging part of the case-or-controversy requirement of Article III[.]"); So. Walk at Broadlands

Homeowner's Assoc. Inc. v. Openband at Broadlands. LLC, 713 F.3d 175, 185 (4th Cir. 2013)).

        In addition to satisfying constitutional      standing requirements,     a plaintiff must also

demonstrate that his claims are not barred by prudential limitations on a federal court's exercise

of jurisdiction.   United States v. Windsor, 570 U.S. 744, 133 S. Ct. 2675, 2687 (2013); see also,

e.g., Elk Grove Unified Sch. Dist., 542 U.S. at II; Doe v. Sebelius, 676 F. Supp. 2d 423, 428 (D.



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Md. 2009).      Prudential standing '''embodies judicially self-imposed limits on the exercise of

federal jurisdiction.'"   Elk Grove Unified Sch. Dist., 542 U.S. at II (citation omitted).

          One such limitation is that "a plaintiff generally must assert his own legal rights and

interests, and cannot rest his claim to reliefon the legal rights or interests of third parties." Warth

v. Seldin, 422 U.S. 490, 499 (1975). This limitation serves to "preclude a court from deciding

'questions of broad social import in cases in which no individual rights will be vindicated'" and to

ensure that '''access to the federal courts [is] limited to those litigants best suited to assert the

claims.'"    Buchanan v. Consolidated Stores Corp., 125 F. Supp. 2d 730, 738 (D. Md. 2001)

(quoting Mackey v. Nationwide Ins. Co., 724 F.2d 419, 422 (4th Cir. 1984)).

          Under Rule 12(b)(l), the plaintiff bears the burden of proving, by a preponderance         of

evidence, the existence of subject matter jurisdiction.     See Lujan, 504 U.S. at 561; Demetres v.

EastlVest Canst., Inc., 776 F.3d 271, 272 (4th Cir. 2015); Durden v. United States, 736 F.3d 296,

300 (4th Cir. 2013). When, as here, "'standing is challenged on the pleadings, [the court will]

accept as true all material allegations of the complaint and construe the complaint in favor of the

complaining party.'"      Deal, 911 F.3d at 187 (quoting So. Walk, 713 F.3d at 181-82); see Kerns v.

United States, 585 F.3d 187, 192 (4th Cir. 2009).           "At the pleading stage, general factual

allegations of injury resulting from the defendant's conduct may suffice, [since] on a motion to

dismiss [the court] presum[es] that general allegations embrace those specific facts that are

necessary to support the claim." Lujan, 504 U.S. at 561 (citation and quotation marks omitted);

accord HUllon v. Nat'! Bd. 01 Exam'rs in Optometry, Inc., 892 F.3d 613, 620 (4th Cir. 2018);

Moore v. Blibaum & Assocs .. P.A., 693 F. App'x 205 (4th Cir. 2017); NAACP, 2019 WL 355743,

at *17.




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        Therefore, in analyzing the standing issue, I shall accept as true the allegations in the SAC,

so long as "there is sufficient 'factual matter' to render them 'plausible on [their] face.'''   Beck v.

McDonald, 848 F.3d 262, 270 (4th CiL), cerl. denied sub nom. Beck v. Shulkin, _             U.S. __       ,

137 S. Cl. 2307 (2017) (quoting Ashcroji v. Iqbal, 556 U.S. 662, 678 (2009»; see also Bell All.

Corp. v. Twombly, 550 U.S. 544, 555-56 (2007). In addition, "a court may properly take judicial

notice of 'matters of public record' and other information that, under Federal Rule of Evidence

201, constitute 'adjudicative facts.'''   Goldfarb v. Mayor & Cily Council of Ball., 791 F.3d 500,

508 (4th CiL 2015); see also Tellabs, Inc. v. Makar Issues & Rights, Ltd., 551 U.S. 308, 322

(2007); Kalyle v. Penn Nal'l Gaming, Inc., 637 F.3d 462, 466 (4th CiL 2011), cerl. denied, 565

U.S. 825 (2011); Philips v. Pill Oy. Mem. Hasp., 572 F.3d 176, 180 (4th CiL 2009). However,

under Fed. R. Evid. 201, a court may take judicial notice of adjudicative facts only if they are "not

subject to reasonable dispute," in that they are "(1) generally known within the territorial

jurisdiction of the trial court or (2) capable of accurate and ready determination by resort to sources

whose accuracy cannot reasonably be questioned."

        To establish Article III standing, a plaintiff must satisfy three elements.     See Lujan, 504

U.S. at 560. They are, id. (internal quotation marks and citations omitted):

        First, the plaintiff must have suffered an injury in fact-an invasion of a legally
        protected interest which is (a) concrete and particularized, and (b) actual or
        imminent, not conjectural or hypothetical. Second, there must be a causal
        connection between the injury and the conduct complained of-the injury has to be
        fairly traceable to the challenged action of the defendant, and not the result of the
        independent action of some third party not before the court. Third, it must be likely,
        as opposed to merely speculative, that the injury will be redressed by a favorable
        decision.

See also Susan B. Anlhony Lisl v. Driehaus, 573 U.S. 149, 168 (2014); Clapper, 568 U.S. at 409;

Friends oflhe Earlh, Inc., 528 U.S. at 180-81; Sierra Club v.     u.s. Dep'l   oflhe Interior, 899 F.3d




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260,284     (4th Cir. 2018); Cahaly v. Larosa, 796 F.3d 399, 406 (4th Cir. 2015); Lane v. Holder,

703 F.3d 668, 671 (4th Cir. 2011); Doe v. Obama, 631 F.3d 157, 160 (4th Cir. 2011).

          To meet the injury-in-fact requirement, a plaintiff must establish that it "suffered 'an

invasion of a legally protected interest' that is 'concrete and particularized'           and 'actual or

imminent, not conjectural and hypothetical. '" Spokeo, Inc., 136 S. Ct. at 1548 (quoting Lujan, 504

U.S. at 560). Alternatively, a threatened injury can satisfy Article 1lI standing, although "not all

threatened injuries constitute an injury-in-fact."     Beck, 848 F.3d at 271; see South Carolina, 912

F.3d at 726. As the Fourth Circuit recently explained in Deal, 911 F.3d at 189, the two concepts-

actual, ongoing injury or imminent injury-are        "disjunctive."

         An "allegation offuture injury may suffice if the threatened injury is 'certainly impending,'

or there is a '''substantial   risk" that the harm will occur.'"      Susan B. Anthony, 573 U.S. at 158

(quoting Clapper, 568 U.S. at 414 n.5); see Llyan, 504 U.S. at 564. In contrast, and of import

here, '''[a]llegations   ofpossible future injury' are not sufficient." Clapper, 568 U.S. at 409 (quoting

Whitmore v. Arkansas, 495 U.S. 149, 158 (1990)) (emphasis in original)). This requirement serves

"to ensure that the alleged injury is not too speculative for Article 1lI purposes." Wikimedia Found.

v. Nat 'I Sec. Agency, 857 F.3d 193,208 (4th Cir. 2017).

          In some cases, it is enough that there is a "substantial risk" of a harm occurring that

"prompt[s] plaintiffs to reasonably incur costs to mitigate or avoid that harm." Clapper, 568 U.S.

at 414 n.5. But, in such a case, the plaintiff cannot rely on an "attenuated chain of inferences" nor

"on speculation about 'the unfettered choices made by independent actors not before the court.'''

Id. (quoting Llyan, 504 U.S. at 562). Nor can plaintiffs "manufacture standing merely by inflicting

harm on themselves         based on their fears of hypothetical        future harm that is not certainly

impending." Clapper, 568 U.S. at 416. "If the law were otherwise, an enterprising plaintiffwould



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be able to secure a lower standard for Article III standing simply by making an expenditure based

on a nonparanoid fear." Id.; see, e.g., Wikimedia, 857 F.3d at 216 ("Nor can Plaintiffs establish

standing on the ground that ... surveillance compels them to take burdensome                and costly

measures.").

         Generally speaking, "[aJ case is fit for judicial decision when the issues are purely legal

and when the action in controversy is final and not dependent on future uncertainties."     Doe v. Va.

Dep'l OISlale Police, 713 FJd 745, 758 (4th Cir. 2013) (internal quotation marks omitted). On

the other hand, a claim "should be dismissed as unripe if the plaintiff has not yet suffered injury

and any future impact remains wholly speculative."        Id. (internal quotation marks omitted).   As

the Fourth Circuit recently reiterated, "an alleged harm is too 'speculative'    to support Article III

standing when the harm lies at the end of a 'highly attenuated chain of possibilities.'"         Soulh

Carolina, 912 F.3d at 727 (quoting Clapper, 568 U.S. at 410).

                                                   C.

         The parties primarily dispute whether the injury-in-fact element is satisfied here.        An

injury-in-fact is the "[f]irst and foremost" of standing's three elements.    Sleel Co. v. Citizens lor

Beller Env '1,523 U.S. 83 U.S. 83, 103 (1998). To demonstrate an injury-in-fact, the plaintiff must

have suffered "'an invasion of a legally protected interest' that is 'concrete and particularized' and

'actual or imminent, not conjectural or hypothetical.'"     Spokeo, Inc., 136 S. Ct. at 1548 (quoting

Lujan, 504 U.S. at 560).

         For the purposes of meeting the injury-in-fact        requirement,   states "are not normal

litigants."   Massachusells v. E.P.A., 549 U.S. 497, 518 (2007). They may show harm to three

kinds of interests:    (I) proprietary   or financial interests,   (2) quasi-sovereign   interest, and




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(3) sovereign interests. See, e.g., Texas v. United Slales, 809 F.3d 134, 152-55 (5th Cir. 2015),

afJ'd by an equally divided courl, _         U.S. __    ' 136 S. Ct. 2271 (2016).

            Maryland alleges harm to all three interests. I will discuss each, in turn.

                                I.      Proprietary and Financial Interests

            Maryland alleges that it has "fundamentally altered its healthcare" scheme in reliance on

the ACA. ECF 29-3, ~ 43. And, it contends that the State's finances will suffer harm if defendants

cease to enforce part or all of the ACA.

            Like any other party, a state can establish standing by alleging a direct injury to its financial

or proprietary interests. See, e.g., Wyoming v. Oklahoma, 502 U.S. 437 (1992) (concluding that

Wyoming had standing to challenge an Oklahoma law that caused Wyoming to lose tax revenues).

In this regard, Maryland asserts: "Substantial numbers of Maryland residents have been able to

obtain health insurance by virtue of the guaranteed issue, community rating, and prohibition on

pre-existing condition exclusions provisions."         ECF 29-3, ~ 25. But, if "those provisions cease to

be enforced," the State insists that many Marylanders would lose their coverage. /d. In turn, this

would "lead[J to a substantial increase in the amount of uncompensated care provided by Maryland

hospitals and other healthcare providers, particularly through emergency room visits." /d.

            Further, if the uninsured population in Maryland increases, the State contends that, as "a

payer of hospital rates," it will "be directly injured by any increase to the uncompensated care

rate ....    " /d. ~ 48. Therefore, the State posits that it is "directly injured by an increase to the

uncompensated care rate that will occur if the uninsured population in Maryland increases." /d.

            Maryland also asserts current harm to its finances as a consequence of the substantial risk

that defendants will no longer enforce the ACA. It claims that it has made several investments in

reliance on the ACA, which are now at risk. /d. ~ 43. To name a few, the State established the



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Maryland Health Benefit Exchange (the "Exchange")           to develop and operate the individual

exchange; created a funding stream for the Exchange; and entered into a "Total Cost of Care

Model" with the Centers for Medicare and Medicaid Services ("CMS"). Jd.; see also ECF 8, ~ 43.

        In the State's view, the "uncertainty regarding the Defendants' future enforcement of the

Act harms Maryland."       ECF 29-3, ~ 44. It claims that the State lacks "clear guidance whether

public dollars are better spent investing in market reforms compatible with the Affordable Care

Act ... or in re-establishing needed consumer protections in the Maryland insurance market. ... "

Jd. Such "uncertainty," it claims, could cause "inefficient use" or the "waste of public funds." ld.

        Moreover, the State alleges that "programmatic uncertainties" currently "pose a risk of

injury to Maryland's financial well-being."    ld. ~ 54. In particular, the State asserts that it has an

"'above-average    economic dependence on federal government employment and spending. '" Jd.

(citing S&P Global Ratings).       Therefore, a "threatened decrease in federal spending requires

Maryland to consider taking proactive financial management steps to maintain its bond rating,

which could require either financial harm to Maryland or an inability to carry out desired programs

to the fullest extent."   ld. Further, it must proactively take steps to align its budget because of

these uncertainties.   Jd. (citing statements of Maryland's Treasurer Nancy Kopp and S&P Global

Ratings).   16


        The government maintains that Maryland is merely speculating as to nonenforcement, and

also speculating that nonenforcement      will reduce insurance rates and increase the volume of

uncompensated care. ECF 33 at 14. Further, it claims that the State is merely speculating "that it




        16 See Nancy K. Kopp, Md. State Treasurer, Maryland Retains Triple AAA Bond Rating,
To Sell Up To $510 Million of General Obligation                   Bonds (July 24, 2018),
http://www.treasurer.state.md.us/medialll 0051/bond Jating_release _7_24_20 18.pdf.

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might see increased expenses associated with reinstituting state protections, restructuring its

insurance market, or enforcing the law itself." Id.

                                 2.      Quasi-Sovereign Interests

        Maryland alleges harm to its quasi-sovereign interests to establish so-called parens patriae

standing. Quasi-sovereign interests include a state's interest "in the health and well-being-both

physical and economic-of      its residents in general." Alfred L. Snapp & Son, Inc. v. Puerto Rico,

458 U.S. 592, 607 (1982). States also have a quasi-sovereign interest "in securing observance of

the terms under which it participates in the federal system." Id. at 607-08. "This means ensuring

that the State and its residents are not excluded from the benefits that are to flow from participation

in the federal system."    Id. at 608. Thus, "States have 'special solicitude' to sue the United

States ... if a quasi-sovereign interest of the state is at stake." Indiana v. E.P.A., 796 FJd 803,

810 (7th Cir. 2015) (citing Massachusells v. E.P.A., 549 U.S. at 520); see also Michigan v. E.P.A.,

581 F.3d 524, 529 (7th Cir. 2009) ("'[S]pecial solicitude' afforded to States for standing purposes

when there is a quasi-sovereign interest at stake").

        Although there are no "definitive limits on the proportion" of a state's residents harmed

"by the challenged behavior," a state must allege injury on behalf of a "sufficiently substantial

segment of its population."    Alfred L. Snapp, 458 U.S. 592 at 607. The "indirect effects of the

injury must be considered as well in determining whether the State has alleged injury to a

sufficiently substantial segment of its population." Id. A state cannot merely be "a nominal party

without a real interest of its own .... " Id. at 600.

        However, a state cannot sue as parens patriae "to protect citizens of the United States from

the operation" of federal statutes. Massachusells v. Mellon, 262 U.S. 447, 485-86 (1923). In such

cases, "it is no part of [a state's] duty or power to enforce their rights in respect of their relations



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with the federal government. In that field it is the United States, and not the state, which represents

them as parens patriae, when such representation becomes appropriate[.]"       [d.

        The parties disagree about whether states can ever bring parens patriae suits against the

federal government.     In the government's' view, Mellon categorically bars such suits. ECF 33

at 17. Maryland rejects this theory, arguing that a state can sue federal agencies and officers to

compel them to comply with federal law. ECF 27 at 19.

        I am not persuaded by the government's position. In Massachusells v. E.P.A., supra, 549

U.S. 497, the Supreme Court rejected this position, noting "Mellon itself disavowed any such broad

reading[.]"    [d. at 520 n.17. The Court highlighted the "critical difference between allowing a

State 'to protect her citizens from the operation of federal statutes' (which is what Mellon

prohibits) and allowing a State to assert its rights under federal law (which it has standing to do)."

[d. (quoting Georgia v. Pa. R. Co., 324 U.S. 439,447 (1945));accordD.C         v. Trump, 291 F. Supp.

3d 725, 747 (D. Md. 2018); Aziz v. Trump, 231 F. Supp. 3d 23, 31 (E.D. Va. 2017).

        Further, the government's argument "ignores an established line of cases" in which states

brought suit "to enforce the rights guaranteed by a federal statute." Texas v. United States, 86 F.

Supp. 3d 591 (2015), aff'd, 809 F.3d 134 (5th Cir. 2015), aff'd by equally divided court,

_    U.S. __    ,136 S. Cl. 2271 (2016); see, e.g., Wash. Utilities & Transp. Comm 'n v. F.CC,     513

F.2d 1142 (9th Cir. 1975) (state regulatory agency filed parens patriae suit against Federal

Communications      Commission and the federal government); Kansas ex reI. Hayden v. United

States, 748 F. Supp. 797 (D. Kan. 1990) (state brought suit against the federal government under

parens patriae theory); Abrams v. Heckler, 582 F. Supp. 1155 (S.D.N.Y. 1984) (state used parens

patriae theory to maintain suit against HHS).




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          Maryland contends that it will suffer harms to two distinct quasi-sovereign interests if

defendants stop enforcing the ACA. First, it claims that the loss of health insurance will undermine

the "health and well-being" of its residents because the "lack of insurance has substantial negative

health and economic effects for the uninsured and the population more broadly."           ECF 27 at 18.

Second, it claims to have "standing to ensure that its residents are not denied the substantial

benefits the ACA affords them, including the right to secure insurance free from discrimination

based on disability or other pre-existing conditions."      Iii. Maryland also alleges actual harm from

the reduced enrollment that may result from "consumer confusion surrounding the implementation

of the Government's decision not to enforce some or all of the Affordable Care Act." ECF 29-3,

~ 48.

          The government counters that such injuries, like the alleged injuries to the State's financial

and proprietary interests, are speculative. ECF 33 at 14-15. And, as already noted, the government

believes that the State cannot bring a parens patriae suit against the federal government.      Iii. at 17.

                                       3.      Sovereign Interests

          The State insists that nonenforcement of the ACA will inflict direct injury on its sovereign

interests.

          "A state possesses an interest in its 'exercise of sovereign power over individuals and

entities within the relevant jurisdiction,'   which 'involves the power to create and enforce a legal

code.'"      Virginia ex reI. Cliccinelli v. Sebelills, 656 F.3d 253, 268 (4th Cir. 2011) (quoting Alfred

L. Snapp, 458 U.S. at 601); West Virginia v. E.P.A., 362 F.3d 861, 868 (D.C. Cir. 2004)

(concluding that state has standing to challenge EPA regulations that would require revising state

implementation plans under the Clean Air Act); Florida v. Weinberger, 492 F.2d 488, 494 (5th

Cir. 1974) ("Florida has standing, arising from its clear interest ...             in being spared the



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reconstitution of its statutory program[.)").     "Pursuant to that interest, states may have standing

based on (1) federal assertions of authority to regulate matters they believe they control, (2) federal

preemption of state law, and (3) federal interference with the enforcement of state law, at least

where 'the state statute at issue regulate[ s] behavior or provider s] for the administration of a state

program' and does not 'simply purport [ ] to immunize [state] citizens from federal law.'''        Texas

v. Uniled Slales, 809 F.3d at 153 (citing Cuccinelli, 656 F.3d at 269, 270).

            According to Maryland, non-enforcement of the ACA will interfere with its "creation and

enforcement of its insurance and healthcare regulatory regime[.]" ECF 27 at 15. Further, it argues

that the State will need to modify its laws and divert state resources from other priorities. Jd.

            In contrast, the government maintains that such abstract injuries do not establish a

sovereign harm. ECF 33 at 19. Rather, sovereign harms are limited to more concrete ones, such

as "injuries to a State's interests in enforcing its laws or maintaining its borders." Jd.

                                                      D.

            The State's allegations clearly suggest that it will suffer a "concrete and particularized"

injury ifdefendants cease to enforce part or all of the ACA. Lujan, 504 U.S. at 560. However, the

State fails to plead facts sufficient to show that suOch an injury is "imminent" and "not conjectural

or hypothetical."     Jd.

            As noted, to satisfy the injury-in-fact prong, an "allegation of future injury may suffice if

the threatened injury is 'certainly impending,' or there is a '''substantial risk" that the harm will

occur.'''     Susan E, Anlhony, 573 U.S. at 158 (quoting Clapper, 568 U.S. at 414 n.5). Under the

"substantial risk standard," the future harm "may prompt plaintiffs to reasonably incur [present]

costs to mitigate or avoid that harm."        Clapper, 568 U.S. at 414 n.5 (citing Monsanlo Co. v.

Geerlson Seed Farms, 561 U.S. 139, 153-54 (2010».



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        Maryland claims to have suffered an injury because of the "substantial risk" of defendants'

failure to enforce the ACA, and it purports to face "certainly impending" harm from such conduct.

Because the substantial risk standard is a lower threshold to clear, I shall analyze whether the State

has adequately alleged a substantial risk that defendants will no longer enforce part or all of the

ACA. See Clapper, 568 U.S. at 4 14 n.5 (characterizing substantial risk standard as either the same

as or less stringent than the "certainly impending" standard).

       The State relies on its claims that the President and his administration have waged, and

continue to wage, a relentless campaign to sabotage and nullify the ACA, through legislative and

executive action. ECF 29-3, ~ 1I. It points out that repeal of the ACA is a "core policy goal" of

the President, who is determined "to undo" the Act. Id. The State also alleges: "Since taking

office, the Trump Administration has engaged in a sustained effort to 'explode' the Affordable

Care Act by making it more dimcult and expensive for individuals to procure health insurance

through the Act's Exchanges." Id. ~ 35 (citing Amy Goldstein & Juliet Eilperin, Affordable Care

Act Remains 'Law 01 the Land, ' but Trump Vows to Explode It, WASH. POST, Mar. 24, 2017,

hups:/ /www.washingtonpost.com/nat     ional/heal th-science/ affordab Ie-care-act -remains-l awoof-

the-land-but-trump-vows-to-explode-it/20    17/03/24/4b7a2530-1 Oc3-11e7-ab07-

07d9f52I f6b5_story.html (summarizing March 24, 2017 interview of Trump».

       In support of its claim of an imminent decision by the Administration not to enforce the

ACA, Maryland points to various statements made by the President, indicating his contempt for

the Act.    For example, after President Trump suspended cost-sharing reduction payments, he

tweeted: "The Democrats ObamaCare is imploding. Massive subsidy payments to their pet

insurance companies has stopped. Oems should call me to fix!" ECF 29-3, ~ 36. Similarly, after

the Trump Administration promulgated a rule that exempts "association health plans" from some



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ACA requirements, the President said the rule represented a "truly historic step in our efforts to

rescue Americans from ObamaCare and the ObamaCare nightmare." /d. ~ 38.

       Further, the Second Amended Complaint alleges that various measures have already been

implemented to undermine enforcement of the law. /d. ~ II.       These include "suspending cost-

sharing reduction payments; directing [the] agencies to implement statutorily unauthorized rules

disrupting enforcement of nondiscrimination provisions and disrupting individual and small group

market reforms; and curtailing funding for the federally-facilitated exchanges."        /d. In the same

vein, Maryland points to the President's    Executive Order, titled "Minimizing          the Economic

Burden of the Patient Protection and Affordable Care Act Pending Repeal," as evidence of an

intent to dismantle the ACA. /d. ~ 35; see also supra note II. However, the State does not allege

that the Executive Order undermined the ACA or impaired the proper functioning of health

insurance markets.   See ECF 29-3.

       Maryland also highlights the Trump Administration's    litigation position in the Texas Case,

NO.4: 18-cv-00167-0.    As noted, in that case, pursuant to 28 U.S.C.     S 5300,   Attorney General

Sessions sent a letter to Congress indicating that DOJ, with the approval of President Trump, would

decline to defend the constitutionality of the ACA's Individual Mandate provision.           ECF 29-3,

~ 10. In addition, he represented that DOJ would argue that the Individual Mandate is not severable

from the ACA's provisions as to guaranteed issue, community rating, and preexisting conditions.

/d.

       The State contrasts the Sessions Letter with a letter authored by Attorney General Eric

Holder, Jr. in 2011, informing Congress of DOl's decision not to defend Section 3 of the Defense

of Marriage Act ("DOMA"), Pub. L. No. 104-199, I U.S.c.       S 7 and   28 U.S.c.   S   1738C. ECF 27

at II. Holder stated that, despite DOl's view that DOMA was unconstitutional, "the President has



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instructed executive agencies to comply with Section 3 ...             , consistent with the Executive's

obligation to take care that the laws be faithfully executed, unless and until Congress repeals

Section 3 or the judicial branch renders a definitive verdict against the law's unconstitutionality."

Id. (quoting Holder's letter of February 23, 2011, to Speaker of the House John Boehner,

htlps:/ /www.justice.gov/ opa/pr/letter-attorney -general-congress-li tigati on -invo Ivingdefense-

marriage-act).   In contrast to Holder, Attorney General Sessions "made no promise to continue to

enforce the provisions [of the ACA that] he viewed as unconstitutional or inseverable during the

pendency oflitigation"      ECF 29-3, ~ 10.

        The proposed SAC also identifies "[0 ]ther recent controversies"            to demonstrate "the

Executive Branch's       willingness    to abandon prior policies based on threatened        or ongoing

litigation, as opposed to judicial determination of merits issues."          Id. ~ 39. First, the Trump

Administration relied on threatened litigation to rescind Deferred Action for Childhood Arrivals

("DACA") (i.e., protections for so called "Dreamers"). Id. Second, even though DOJ had obtained

a preliminary    injunction enjoining a website from distributing           3-D printed gun plans, the

Administration entered a settlement agreement allowing the website to distribute the plans. Id.

~ 40; see also Defense Dislrib. v.     us. Dep 'I ofSlale,   838 F.3d 451,461 (5th Cir. 2016) (upholding

the preliminary injunction), cerl. denied, _        U.S. __    ,138 S. Ct. 638 (2018). According to the

State, the government entered that settlement "without notifying Congress as required under the

applicable export-control statute." ECF 29-3, ~ 40. Third, the Administration "revers[ed] course

on a longstanding policy of the Secretaries of Health and Human Services and Treasury to make

cost-sharing reduction (one way the Act subsidizes individual purchase of health insurance)

payments ('CSR payments')[.]"          lei. ~ 36.




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        With these allegations in mind, Maryland primarily relies on three cases to establish

standing. ECF 40 at 11-12. In the context of the allegations, they are not persuasive.

        First, in Monsanto, 561 U.S. at 155, the Supreme Court concluded that plaintiffs would be

injured by an executive agency's decision to deregulate a kind of genetically-engineered           alfalfa

crop. The Court found standing because the agency's decision to deregulate created a "significant

risk" of contaminating plaintiffs "non-genetically-engineered"       varieties of alfalfa. /d. As a result

of that risk, plaintiffs would have to test their crops regularly for contamination and take measures

to prevent gene flow. These activities would drive up their costs and cause a concrete harm to

plaintiffs. Notably, in Monsanto, the government had actually made a decision to deregulate, and

the harms were "readily attributable to [the agency's] deregulation decision." /d. Here, however,

the alleged harms flow from concerns about a decision that the Trump Administration has not

made and may never make.

        Second, in Thomas v. Union Carbide Agricultural Products Company, 473 U.S. 568, 580

(1985), the plaintiff challenged a statutorily-mandated arbitration regime for data disputes between

pesticide manufacturers.    The plaintiff manufacturer had "engaged in an arbitration lasting many

months and consuming 2,700 pages of transcript."       /d. at 58!.     The Court concluded that "it is

sufficient for purposes of a claim under Article III challenging a tribunal's jurisdiction that the

claimant demonstrate       it has been or inevitably will be subjected to an exercise of such

unconstitutional jurisdiction."   /d.

        Maryland highlights the Supreme Court's reliance on the plaintiff suffering "the continuing

uncertainty and expense of depending        for compensation        on a process whose authority is

undermined because its constitutionality is in question."     /d.    But, this portion of the Supreme

Court's analysis pertained to ripeness, not standing. And, even without the pervasive uncertainty,



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the plaintiff still would have had standing,        because it was "subject[]      to" the allegedly

unconstitutional arbitration regime. Id. at 580. However, unlike the plaintiff manufacturer, the

State does not contend that it is subject to an unconstitutional statute. Rather, it relies on a longer

causal chain with a broken first link: it speculates that the government may stop enforcing the

ACA.

          Third, in EQT Production Company v. Wender, 870 F.3d 322, 330-31 (4th Cir. 2017), an

operator of natural gas wells challenged a local ordinance prohibiting permanent storage of

wastewater in certain wells. The Fourth Court recognized standing because the credible threat of

the county defendant enforcing the ordinance would force plaintiff to incur significant costs. Id.

at 331.

          Here, the State does not fear an imminent risk of enforcement.              Rather, it fears

nonenforcement, which it claims would result in significant costs and harm to the State. Whereas

the executive agencies are responsible for enforcing the law and can therefore be expected to bring

enforcement actions, they are categorically prohibited from flouting the law.          To establish a

plausible inference that an agency will imminently flout the law, particularly one affecting millions

of people and billions of federal dollars, requires more persuasive allegations that defendants

imminently intend not to enforce the ACA.

          The President's profound disdain for the ACA cannot be seriously disputed.           But, the

State's allegations do not create a plausible inference of a substantial or certainly impending risk

that the Trump Administration will cease enforcement of part or all of the ACA. Neither the

President's zealous attempts to repeal the statute, nor his derisive comments about it, support an

inference that he will fail to enforce the law.




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       Nor can the State claim standing based on the Trump Administration's             decision to settle

litigation over the cost-sharing       reduction   payments    at issue in United States House of

Representatives v. Burwell, 185 F. Supp. 3d 165, 168 (D.D.C.) (the "CSR case"), appeal held in

abeyance, 676 F. App'x      I (D.C. Cir. 2016).          Plaintiff asserts, ECF 29-3,   '1   39: "[R]ecent

controversies have demonstrated the Executive Branch's willingness to abandon prior policies

based on threatened or ongoing litigation, as opposed to judicial determination of merits issues."

        In the CSR case, Judge Rosemary M. Collyer concluded that Congress did not appropriate

funds for the cost-sharing reduction payments. 185 F. Supp. 3d at 168. Additionally, in response

to an emergency request for a ruling to compel the Trump Administration to continue making the

payments, another court in the Northern District of California concluded that "although it's a close

question, it appears initially that the Trump Administration has the stronger legal argument."

California   v. Trump, 267 F. Supp. 3d 1119, 1121 (N.D. Cal. 2017).                Even if the Trump

Administration improperly used that litigation as a ploy to terminate CSR payments, it would seem

unlikely that it could use the same maneuver in the Texas Case.             There, several states have

intervened as defendants to uphold the constitutionality of the Individual Mandate and the ACA,

and it is unlikely that the Trump Administration could settle the Texas Case without the agreement

of the intervening defendant states.

       The State also int1ates the significance of the Sessions Letter informing Congress that DOJ

would not defend the ACA in the Texas Case. Maryland focuses on the omission from the letter

of any representation by Sessions that he would continue to enforce the provisions that DOJ views

as unconstitutional or inseverable. ECF 29-3, ~ 10. In plaintiffs view, this omission supports an

"inference that Defendants will refuse to enforce the statute regardless of any court order." ECF

27 at II. However, the Trump Administration's        decision not to defend parts of the ACA in court



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is not the same as failing to enforce it. Compare 28 U.S.c. ~ 530D(a)(l)(B)     with ~ 530D(a)(I)(i).

The former amounts to a litigation position, the latter to potentially upending an industry that

accounts for nearly one-fifth of the country's economy. See OFFICEOFTHEACTUARY,CENTERS

FORMEDICAREANDMEDICAIDSERVS.,NATIONALHEALTHEXPENDITURES
                                                      2017 HIGHLIGHTS,at I,

https://www.cms.gov/Research-Statistics-Data-and-S      ystems/Stati stics-Trends-and -Reports/

National Heal thEx pend Data/Downl oads/hi ghli ghts. pdf.

       Moreover, the government's       actual words and actions in the Texas Case suggest the

implausibility of the State's inferences.    As the State notes in the proposed Second Amended

Complaint, "at oral argument [in the Texas Case] on September 5, 2018, DOl professed that 'the

current administration supports protections for people with pre-existing health conditions, ..' but

DOJ then "reaffirm[ed]        its position   that the minimum      coverage    requirement    will be

unconstitutional and that the community rating and guaranteed issue provisions-including          pre-

existing condition protections-'must     fall' as well." ECF 29-3, ~ 10 (emphasis added). During

that same hearing, which predates the commencement of this case, the government also stated that

a court ruling during the ACA's open enrollment period for health insurance would threaten to

destabilize the insurance markets.      See Texas, No. 4: 18-cv-00167-0,      No. ECF 228.        As a

consequence,   it specifically asked the Texas court to defer ruling until after the end of the

enrollment period. Id. That conduct is inconsistent with a claim of imminent failure to enforce.

       Indeed, even after the entry of judgment in Texas, the government did not terminate

enforcement of the ACA. In a press release issued by HHS on December 17, 2018, concerning

the Texas Case, HHS said:17




       17 https://www.hhs.gov/aboutlnews/20      18/12/17 /statement-from-the-department-of-health-
and -human-servi ces-on-texas- v-azar. hUnl.

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                 The recent U.S. District Court decision regarding the Affordable Care Act
         is not an injunction that halts the enforcement of the law and not a final judgment.
         Therefore, HHS will continue administering and enforcing all aspects of the ACA
         as it had before the court issued its decision. This decision does not require that
         HHS make any changes to any of the ACA programs it administers or its
         enforcement of any portion of the ACA at this time. As always, the Trump
         Administration stands ready to work with Congress on policy solutions that will
         deliver more insurance choices, better healthcare, and lower costs while continuing
         to protect individuals with pre-existing conditions.

         It is also noteworthy that the government did not oppose a stay of the judgment in the Texas

Case, "pending appeal, given the potential for disruption to the healthcare markets if immediate

implementation were required."          Texas, No. 4:18-cv-OOI67-0, ECF 216, at 15-16. And, with the

judgment now stayed pending the appeal in the Fifth Circuit, see Texas, NO.4: 18-cv-00 167-0,

ECF 223 (N.D. Tex. Dec. 31,2018), the prospect of the government suddenly ceasing to enforce

the ACA is further diminished.

         In sum, the State points to the President's rhetoric, his legislative agenda, his regulatory

agenda, and his litigation positions to demonstrate that he might possibly terminate enforcement

of the ACA. But, its claim consists of little more than supposition and conjecture about President

Trump's possible actions. In effect, the State proclaims that the sky is falling. But, falling acorns,

even several of them, do not amount to a falling sky.

         Moreover, the State has not pointed to any actual threat by the President to terminate

enforcement of the ACA.           Compare Jeff Mason & Richard Cowan, Trump Threatens To Use

Emergency Power To Build Wall. End Shutdown, REUTERS(Jan. 10,2019) ('''I have the absolute

right to declare a national emergency,' Trump told reporters at the White House. 'I'm not prepared

to do that yet, but if I have to, I will. ''').

        The State's suit is tantamount to a request for an advisory opinion to thwart the possibility

of the President deciding not to enforce the Act. Yet, "it is quite clear that the oldest and most



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consistent thread in the federal law of justiciability is that the federal courts will not give advisory

opinions."    Flast v. Cohen, 392 U.S. 83, 96 (1968) (internal quotation omitted).           Similarly, the

Court is not in "the habit of ... decid[ing] questions of a constitutional nature unless absolutely

necessary to a decision of the case." Flue-Cured Tobacco Coop. Stabilization Corp. v. E.P.A., 313

F.3d 852, 857 (4th Cir. 2002) (quoting Ashwander v. Tenn. Valley Auth., 297 U.S. 288, 347 (1936)

(Brandeis, J., concurring»; see Jennings v. Rodriguez, _        U.S. _,138          S. Ct. 830, 842 (2018);

INS v. St. Cyr, 533 U.S. 289, 300 (2001); City of New York v. Dep't of Defense, No. 18-1699,_

F.3d _,      2019 WL 208080, at *5 (4th Cir. Jan. 16,2019); cf United States v. Simms, No. 15-

4640, _      F. 3d _'     2019 WL 311906, at *21-22 (4th Cir. Jan. 24, 2019).18

          The President has a duty to "take care that the laws," including the ACA, "be faithfully

executed."    U.S. CONST. art. 11, S 3. And, that power does not entail the authority to disregard a

federal statute. As the Supreme Court stated long ago in Kendall v.          u.s.   ex rei. Stokes, 37 U.S.

524 (1838), "To contend that the obligation imposed on the President to see the laws faithfully

executed implies a power to forbid their execution, is a novel construction of the constitution, and

entirely inadmissible."    Id. at 613.

          In my view, the State's allegations are speculative and thus deficient. 19 1 have not "shut

[my] eyes to such evidence when it stares [me] in the face." See Int'l Refugee Assistance Project




         18Although standing is itself a constitutional question, Vt. Agency of Nat. Res. v. u.s. ex
reI. Stevens, 529 U.S. 765, 771 (2000), this Court must decide it, irrespective of whether it reaches
the constitutionality of the ACA.

         191nAugust 2018, the Mayor and City Council of Baltimore and several other cities, along
with two individuals, filed suit against the President and others, alleging, inter alia, that the
President has endeavored to nullify and sabotage the ACA and has violated his constitutional duty
to faithfully execute the ACA. See City of Columbus, et al. v. 7,'ump, et aI., No. DKC-18-2364,
ECF 1. An Amended Complaint, almost 150 pages in length, was filed on January 25, 2019. See
id., ECF 44. I express no opinion as to the issues in that case.


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v. Trump, 857 F.3d 554, 599 (4th Cir.), vacated, _      U.S. __    ,138 S. Ct. 353 (2017). Therefore,

at this point in time, I must dismiss the case for lack of standing.2o

        Although the State's claim is not justiciable at this juncture, its claim may become ripe for

review in the future, ifits alleged injury "move[s] from the speculative to the concrete .... " South

Carolina, 912 F.3d at 731. In that circumstance, and because I shall grant the Motion to Dismiss

(ECF II) without prejudice, the State would be entitled to revive the litigation.

                            E.       Motion for Preliminary Injunction

        The State's petition for injunctive relief asks this Court to restrain and enjoin defendants

from proceeding in this case with Mr. Whitaker appearing in his official capacity as the Acting

Attorney General. See ECF 6 at I. As noted, the State insists that, under the Attorney General

Succession Act, 28   u.s.c. S 508,   and the Appointments Clause of the Constitution, Art. II,     S 2,
Deputy Attorney General Rod Rosenstein should be designated as the Acting Attorney General,

not Matthew Whitaker.

        Plaintiff lacks standing to pursue this case. Therefore, it is unnecessary to consider all of

the prerequisites of injunctive relief. League of Women Voters of N Carolina v. North Carolina,

769 F.3d 224, 249 (4th Cir. 2014). The Motion for Preliminary Injunction (ECF 6) is denied, as

moot.

                                     F.     Motion to Substitute

        The State contends that, even if it lacks standing, its request for relief under Rule 25 falls

squarely "within the Court's inherent authority to supervise and manage the proceedings before

it." ECF 31 at 5. Pursuant to Fed. R. Civ. P. 25, it moves the Court "either (I) to order substitution




        20Because I shall grant the Motion to Dismiss pursuant to Fed. R. Civ. P. 12(b)(l), it is
unnecessary to consider the government's arguments as to Fed. R. Civ. P. 12(b)(6).
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of Rod Rosenstein for Mr. Whitaker as a party defendant, or (2) to determine that Mr. Whitaker

may not supervise the Department of Justice's litigation of the case as an attorney." ECF 51 at 5;

see also ECF 6-1 at 3-4; ECF 31 at 5-6.

       According to the State, its requests for relief do not "invoke[] the Court's Article III power

to issue an order requiring anyone to take any action external to the litigation itself." ECF 31 at 5.

"Just as the Court has inherent authority to order parties to participate in mediation, and to compel

attendance at mediation by a government attorney with suitable authority, so, too, the Court can

determine who holds the office; indeed, it must." Id. (internal citations omitted).      If substitution

"required finding an Article III injury in each case," then Fed. R. Civ. P. 25(d) "could not provide

for the 'automatic' substitution ofa successor official at all." Id. at 5-6.

       Fed. R. Civ. P. 25(d) provides:

       An action does not abate when a public officer who is a party in an official capacity
       dies, resigns, or otherwise ceases to hold office while the action is pending. The
       officer's successor is automatically substituted as a party. Later proceedings should
       be in the substituted party's name, but any misnomer not affecting the parties'
       substantial rights must be disregarded. The court may order substitution at any
       time, but the absence of such an order does not affect the substitution.

       Rule 25(d) applies only where, as here, the officer is sued "in an official capacity." See 7C

WRIGHT& MILLER9 1960. Under Rule 25(d), "any misnomer not affecting the parties' substantial

rights must be disregarded." Automatic substitution is "mercly a procedural device for substituting

a successor for a past officeholder as a party," and "is distinct from and does not affect any

substantive issues which may be involved in the action." Fed. R. Civ. P. 25 advisory committee

notes to 1961 amendment.

       As the Supreme Court explained in Lewis v. Clarke, _        U.S. __     , 137 S. Ct. 1285, 1291-

92 (2017):




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        In an official-capacity claim, the relief sought is only nominally against the official
        and in fact is against the official's office and thus the sovereign itself. This is why,
        when officials sued in their official capacities leave office, their successors
        automatically assume their role in the litigation. The real party in interest is the
        government entity, not the named official.

(citing Edelman v. Jordan, 415 U.S. 651, 663-65 (1974)) (internal citations omitted); see also

Kentucky v. Graham, 473 U.S. 159, 165-66 (1985). The officer's name is not even needed. See

Fed. R. Civ. P. 17(d) ("A public officer who sues or is sued in an official capacity may be

designated by official title rather than by name").

        Because amended       Rule 25(d) makes substitution        automatic,   it "does away with"

the former Rule's "requirement of a showing of substantial need" for continuing and maintaining

the action. See WRIGHT& MILLERS 1960; see also Air Line Pilots Ass 'n v. Civil Aeronautics Ed.,

750 F.2d 81, 87 (D.D.C. 1984). As the Advisory Committee note to the 1963 amendment states,

"where the successor does not intend to pursue the policy of his predecessor which gave rise to the

lawsuit, it will be open to him after substitution ... to take ... appropriate steps to avert a judgment

or decree."

        The government contends that it is immaterial whether the correct Attorney General is

named. ECF 28 at 22. It argues that because the Office of the Attorney General is properly named,

an "error in identification would not deprive DOJ of notice of the litigation, relieve it from being

bound by the judgment, affect the scope or operation of any relief, or have any other substantive

effect on the parties or the litigation."   /d. at 23. Further, the government rejects Maryland's

argument that the State "needs to know the official to name in the suit because it 'needs to know

whom it is litigating against and negotiating with' in this case." /d. at 23 (quoting ECF 6-1 at 29).

In the government's   view, it is enough that "the signature block in Defendants' filings already




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includes DOJ counsel of record and the chain-of-command               through the Senate-confirmed

Assistant Attorney General supervising the Civil Division." ld.

       Notably, the Supreme Court recently denied a motion to substitute filed by the petitioner

in Michaels v. Whitaker, No. 17-15279 (9th Cir. Nov. 3, 2017), cert. denied, No. 18-496 (Jan. 14,

2019). On petition for writ of certiorari, the petitioner sought to substitute Mr. Rosenstein, in his

official capacity as Acting Attorney General, for Mr. Sessions.           Specifically, the petitioner

contended that Mr. Rosenstein, as the Senate-confirmed Deputy Attorney General, automatically

succeeded to the role of Acting Attorney General under 28 U.S.C.               S   508(a) and that the

appointment of Mr. Whitaker violated Article II of the Constitution.        On January 14, 2019, the

Supreme Court denied the motion to substitute and the petition for writ of certiorari, without

comment.

        In support of its position, the State relies on Glassroth v. Houston, 299 F. Supp. 2d 1244

(M.D. Ala. 2004). In that case, the plaintiff initially filed suit against Roy S. Moore, in his official

capacity as the Chief Justice of the Alabama Supreme Court. ld. at 1245. While the case was

pending, Moore was removed from judicial office. ld. And, following his removal, Moore moved

to recuse the federal district judge from presiding over the matter.         ld.   In response, Senior

Associate Justice J. Gorman Houston filed a motion to strike the recusal motion, contending that,

because Moore was removed from office, Houston was the proper defendant. ld.

       The court granted Houston's        motion, finding that, pursuant to Rule 25(d), Houston

automatically replaced Moore as the defendant, because "Moore was sued in his official capacity

only." ld. Furthermore, "there [wa]s no question that Moore hal d] otherwise ceased to hold office

as Chief Justice."   ld. (quotation marks and alterations omitted).     And, it was uncontested that,




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upon Moore's removal from oftice, Houston was the lawful successor under Alabama state law.

Id.

           The State's arguments are unavailing.    Unlike in Glassroth, the lawful successor to the

Oftice of the Attorney General is vigorously contested here. Although the State presents sound

arguments that Mr. Rosenstein is the clear successor to the Oftiee, courts have disagreed.       See,

e.g., United States v. Valencia, NO.5: 17-cr-882-DAE, 2018 WL 6182755, *2-8 (W.D. Tex. Nov.

27, 2018) (ruling "that the appointment of Matthew Whitaker as Acting Attorney General is

statutorily and constitutionally valid at this time"); United States v. Peters, No. 6: I 7-cr-55-REW-

HAI-2, 2018 WL 6313534 (E.D. Ky. Dec. 3, 2018) ("The President complied with FVRA

procedures in appointing Mr. Whitaker.").

           The State cannot skirt Article 11l standing requirements by couching its request for

injunctive relief in a Rule 25(d) motion. The purpose of Rule 25(d) is to facilitate the continuity

of litigation when an ofticeholder dies, resigns, or otherwise ceases to hold office.       See. e.g.,

WRIGHT& MILLERSS 1959, 1960. Such a motion is not the proper vehicle to contest the legality

of an officeholder's appointment in a case where the movant lacks standing.

       Accordingly, I shall deny, as moot, the State's Motion to Substitute (ECF 6).

                                         IV.       Conclusion

           For the reasons stated above, I shall GRANT the State's Motion for Leave (ECF 29). I

shall also grant the government's Motion to Dismiss (ECF II), without prejudice, pursuant to Fed.

R. Civ. P. 12(b)(l).     Therefore, I shall DENY, as moot, the State's Motion for Preliminary

Injunction (ECF 6) and its Motion to Substitute (ECF 6).

       This case is dismissed, without prejudice to being reinstated at a later time. An Order

follows.



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Date:   February 1,2019                                        lsi
                                                Ellen Lipton Hollander
                                                United States District Judge




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